
9 N.Y.2d 875 (1961)
In the Matter of Chase Manhattan Bank, as Trustee (Cities Service Oil Company, Successor in Interest), Appellant,
v.
H. M. Scarborough et al., Constituting the Zoning Board of Appeals of the Village of Cornwall, Respondents, and Frederick Gollob, in Behalf of Himself and Others Similarly Situated, Intervenor-Respondent.
Court of Appeals of the State of New York.
Argued March 29, 1961.
Decided April 27, 1961.
M. J. Rider and Myron I. Mandel for appellant.
Elmer H. Lemon and Thomas P. Callahan for respondents and intervenor-respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order reversed, without costs, and proceeding remitted to Special Term with directions to dismiss the petition upon the ground that the amended ordinance has rendered the issues herein moot. No opinion.
